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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                     :
                                             :              CRIMINAL CASE NO.
                                             :              3:19cr74 (JCH)
v.                                           :
                                             :
LLIVER ABREU-BAEZ                            :              May 31, 2022
     Defendant.                              :


     RULING RE: MOTION FOR COMPASSIONATE RELEASE (DOC. NO. 2084) AND
                  MOTIONS TO SEAL (DOC. NOS. 2135 & 2148)

        Lliver Abreu-Baez, a defendant sentenced by this court and currently serving that

sentence with the Bureau of Prisons (“BOP”), has moved for “immediate release” from

the BOP. See Mot. for Compassionate Release at 18 (Doc. No. 2084). Mr. Abreu-Baez

seeks relief under the First Step Act as amended with regard to compassionate release.

As is required for compassionate release under section 3582(c)(1)(A)(i) of title 18 of the

United States Code, Mr. Abreu-Baez has exhausted his administrative remedies. Id. at

2; see also Supplement to Motion for Compassionate Release at Ex. B (Doc. No. 2113-

1) (“Supplement”). 1

        Mr. Abreu-Baez first argues that there are extraordinary circumstances which

justify his immediate release. See Mot. for Compassionate Release at 3-14. He rests

his argument upon the COVID-19 pandemic and, more particularly, the virus’s presence

in BOP facilities, including Fort Dix where he is incarcerated. Id. at 6-14. He argues

that he is at a high risk from contracting COVID-19. Id. at 4-5. Further, he cites medical




        1The court appointed counsel for Mr. Abreu-Baez, in connection with his pro se Motion for
Compassionate Release (Doc. No. 2084). Counsel subsequently submitted a Supplement to Mr. Abreu-
Baez’s Motion for Compassionate Release (Doc. No. 2133).
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conditions he has which, if he contracts the virus, will put him at high risk of serious

injury or death. Id. In his Motion, Mr. Abreu-Baez attests that he suffers from

hypertension (high blood pressure), a documented possible comorbidity for COVID-19.

Id. However, a review of Mr. Abreu-Baez’s medical records reveals only that Mr. Abreu-

Baez self-reported high blood pressure, although he denied taking any medications for

the condition. See Medical Records at 8 (Doc. No. 2134). Most empirical measures of

Mr. Abreu-Baez’s blood pressure in the record fall below a hypertensive range under

CDC-recognized guidelines. Id. at 6 (122/77 on June 16, 2021), 13 (117/79 on July 26,

2021); see also Gov’t Medical Records at 29 (125/83 on December 30, 2021) (Doc. No.

2147). 2 Only his December 30, 2021 diastolic blood pressure reading of 83 meets the

CDC’s accepted benchmark for a diagnosis of hypertension. See High Blood Pressure

Symptoms and Causes, CTRS. FOR DISEASE CONTROL & PREVENTION,

https://www.cdc.gov/bloodpressure/about.htm (last visited May 25, 2022) (medical

providers may diagnose hypertension when an individual’s blood pressure is

“consistently 130/80 mmHg or higher.”) (emphasis added).




        2  The CDC recognizes two scales for diagnosing high blood pressure, the more conservative of
which is the 2017 American College of Cardiology/American Heart Association Guideline for the
Prevention, Detection, Evaluation, and Management of High Blood Pressure in Adults. See High Blood
Pressure Symptoms and Causes, CTRS. FOR DISEASE CONTROL & PREVENTION, https://www.cdc.gov/
bloodpressure/about.htm (last visited May 25, 2022). Under these guidelines, normal blood pressure
level is below 120/80 mmHg. Id.

        In a blood pressure reading, the first number, here 120, denotes a person’s systolic blood
pressure, while the second number, here 80, indicates a person’s diastolic blood pressure. A systolic
reading of less than 120 and a diastolic reading of less than 80 falls within a “normal” range. A systolic
reading between 120 and 129 and a diastolic reading of less than 80 falls within the “elevated” range, but
below the range for a diagnosis of hypertension. Id. Healthcare professionals following the 2017
guidelines diagnose patients with hypertension if their blood pressure is “consistently 130/80 mmHg or
higher.” Id. The record does not reflect that Mr. Abreu-Baez’s blood pressure “consistently” exceeded
this benchmark.

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       Under the CDC guidelines for COVID-19 risk factors, Mr. Abreu-Baez could

possibly be at an elevated risk should he contract COVID-19 based upon his purported

hypertension. See COVID-19, People with Certain Medical Conditions, CTRS. FOR

DISEASE CONTROL & PREVENTION, https://www.cdc.gov/coronavirus/2019-ncov/need-

extra-precautions/people-with-medical-conditions.html (last updated May 2, 2022).

However, the government, in its Opposition, notes that Mr. Abreu-Baez has been fully

vaccinated against COVID-19. See Opp. to Mot. for Compassionate Release at 1 (Doc.

No. 2174) (hereinafter “Opp.”); see also Gov’t Medical Records at 3 (noting that as of

December 31, 2021, Mr. Abreu-Baez had received one dose of the vaccine).

       Numerous courts have held that an inmate does not present “exceptional

circumstances” on the basis of medical conditions which raise the risk if COVID-19 is

contracted, when that inmate has been fully vaccinated against the virus. See United

States v. Poupart, No. 3:11-CR-116, 2021 WL 917067, at *1 (D. Conn. Mar. 10, 2021)

(“[t]he opportunity for . . . inmates to opt to receive the COVID-19 vaccine represents a

sea change from their previous COVID-19 vulnerability . . . . Evidence that a defendant

has been offered the vaccine . . . demonstrates that he had the ability and opportunity to

take measures to markedly reduce his risk of severe illness or death from COVID-19”)

(internal citation omitted); United States v. Broadfield, 5 F.4th 801, 803 (7th Cir. 2021)

(“for the vast majority of prisoners, the availability of a vaccine makes it impossible to

conclude that the risk of COVID-19 is an “extraordinary and compelling” reason for

immediate release “); United States v. Kosic, No. 18 CR. 30 (PAC), 2021 WL 1026498,

at *2 (S.D.N.Y. Mar. 17, 2021) (“courts in this [C]ircuit have found that vaccination

mitigates the risk an inmate faces from COVID-19 to the point that his health conditions



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weighing in favor of release are no longer extraordinary and compelling.”) (collecting

cases); United States v. Brown, No. 1:18-CR-00339-PAC-3, 2021 WL 5233506, at *3

(S.D.N.Y. Nov. 10, 2021) (“the mass-release of vaccinations in the past months have

dulled the threat of severe complications or death from COVID-19 and its variants. . . .

With these vaccines, the abstract threat of COVID-19 is no longer commonly accepted

as a justification for compassionate release.”) (collecting cases); see also Benefits of

Getting Vaccinated, CTRS. FOR DISEASE CONTROL & PREVENTION,

https://www.cdc.gov/coronavirus/2019-ncov/vaccines/vaccine-benefits.html (last

updated Apr. 27, 2022). The CDC has found that vaccinated persons are 2.3 times less

likely to test positive for COVID-19 and 10 times less likely to die after contracting the

virus. See Rates of COVID-19 Cases and Deaths by Vaccination Status, CTRS. FOR

DISEASE CONTROL & PREVENTION, https://covid.cdc.gov/covid-data-tracker/#rates-by-

vaccine-status (last visited May 25, 2022). Thus, given that Mr. Abreu-Baez has been

vaccinated, it is the court’s view that, even if he had hypertension, he has failed to

demonstrate extraordinary and compelling reasons for a sentence reduction under the

Compassionate Release Statute as modified by the First Step Act. See 18 U.S.C. §

3582(c)(1)(A)(i). 3

        Because Mr. Abreu-Baez has not shown extraordinary and compelling reasons,

the court need not address the 3553(a) factors. 4 Thus, for the foregoing reasons, the



        3 It further bears noting that, at the time the government filed its Opposition, it reported that there
were 136 active COVID cases among inmates at the facility at which Mr. Abreu-Baez is housed.
Currently, at that facility, Fort Dix, there are no infected inmates. See COVID-19, FEDERAL BUREAU OF
PRISONS, https://www.bop.gov/coronavirus/index.jsp (last visited May 25, 2022).
        4 While the harsh reality of BOP conditions during the pandemic has spurred this and other courts
to grant compassionate release to many inmates, Mr. Abreu-Baez received a sentence that was below
the guideline range and accurately reflected the seriousness of the criminal conduct in which he engaged.

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court denies the Motion for Sentence Reduction (Doc. No. 2084). However, the court

grants both the defendant’s and the government’s Motions to Seal (Doc. Nos. 2135 &

2148), because good cause exists to protect the defendant’s confidential medical

records.

SO ORDERED.

       Dated at New Haven, Connecticut, this 31st day of May, 2022.




                                                           /s/ Janet C. Hall
                                                       Janet C. Hall
                                                       United States District Judge




See Judgment (Doc. No. 2023). Mr. Abreu-Baez supplied a co-defendant and distributer, Larry Hall, with
kilogram quantities of heroin. See Amended Presentence Investigation Report at ¶ 18 (Doc. No. 2028).
Thus, even if Mr. Abreu-Baez were to have presented extraordinary and compelling reasons for a
sentence reduction, it is unlikely that the court would have reduced his sentence in light of the
seriousness of the offense, one of the 3553(a) factors.

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